
175 S.W.3d 181 (2005)
STATE of Missouri, Plaintiff/Respondent,
v.
Charles Steven DAVENPORT, Defendant/Appellant.
No. ED 85659.
Missouri Court of Appeals, Eastern District, Division Three.
November 1, 2005.
Dora A. Fichter, Asst. Atty. Gen., Jefferson City, MO, for respondent.
Amy M. Bartholow, Columbia, MO, for appellant.
Before KATHIANNE KNAUP CRANE, P.J., LAWRENCE E. MOONEY, J., and BOOKER T. SHAW, J.

ORDER
PER CURIAM.
Defendant, Charles Steven Davenport, appeals from the judgment entered on a jury verdict finding him guilty of robbery in the first degree, in violation of section 569.020 RSMo (2000), and armed criminal action, in violation of section 571.015 RSMo (2000). The trial court found defendant to be a prior offender and sentenced him to fifteen years imprisonment on the robbery count and fifteen years imprisonment on the armed criminal action count, to be served concurrently.
No error of law appears and no jurisprudential purpose would be served by a written opinion reciting the detailed facts and restating the principles of law. However, the parties have been furnished with a memorandum for their information only, setting forth the facts and reasons for this order.
We affirm the judgment pursuant to Rule 30.25(b).
